Case 2:23-cv-06188-JMW               Document 9          Filed 08/20/23     Page 1 of 6 PageID #: 141




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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 SUPERB MOTORS INC., TEAM AUTO SALES LLC,
 ROBERT ANTHONY URRUTIA, 189 SUNRISE                                 Case No.: 2:23-cv-6188 (DG) (ST)
 HWY AUTO LLC, NORTHSHORE MOTOR
 LEASING, LLC, BRIAN CHABRIER, individually and                      ORDER TO SHOW CAUSE
 derivatively as a member of NORTHSHORE MOTOR
 LEASING, LLC, JOSHUA AARONSON, individually
 and derivatively as a member of 189 SUNRISE HWY
 AUTO, LLC, JORY BARON, 1581 HYLAN BLVD
 AUTO LLC, 1580 HYLAN BLVD AUTO LLC, 1591
 HYLAN BLVD AUTO LLC, 1632 HYLAN BLVD
 AUTO LLC, 1239 HYLAN BLVD AUTO LLC, 2519
 HYLAN BLVD AUTO LLC, 76 FISK STREET
 REALTY LLC, 446 ROUTE 23 AUTO LLC and
 ISLAND AUTO MANAGEMENT, LLC,

                                        Plaintiffs,

                  -against-

ANTHONY DEO, SARAH DEO, HARRY
THOMASSON, DWIGHT BLANKENSHIP, MARC
MERCKLING, MICHAEL LAURIE, THOMAS
JONES, CPA, CAR BUYERS NYC INC., GOLD
COAST CARS OF SYOSSET LLC, GOLD COAST
CARS OF SUNRISE LLC, GOLD COAST MOTORS
AUTOMOTIVE GROUP LLC, GOLD COAST
MOTORS OF LIC LLC, GOLD COAST MOTORS OF
ROSLYN LLC, GOLD COAST MOTORS OF
SMITHTOWN LLC, UEA PREMIER MOTORS
CORP., DLA CAPITAL PARTNERS INC., JONES,
LITTLE & CO., CPA'S LLP, FLUSHING BANK, and
LIBERTAS FUNDING LLC,

                                         Defendants.
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          Upon the annexed Complaint, the declarations of Emanuel Kataev, Esq. and Robert

 Anthony Urrutia, and the annexed Memorandum of Law in support,
Case 2:23-cv-06188-JMW           Document 9       Filed 08/20/23      Page 2 of 6 PageID #: 142




        LET the defendants, Anthony Deo, Sarah Deo, Harry Thomasson, Dwight Blankenship,

 Marc Meckling, Michael Laurie, Thomas Jones, CPA, Car Buyers NYC Inc., Gold Coast Cars

 of Syosset LLC, Gold Coast Cars of Sunrise LLC, Gold Coast Motors Automotive Group LLC,

 Gold Coast Motors of LIC LLC, Gold Coast Motors of Roslyn LLC, Gold Coast Motors of

 Smithtown LLC, UEA Premier Motors Corp., DLA Capital Partners Inc., and Jones, Little &

 Co., CPA’S LLP (collectively hereinafter the “Defendants”), show cause before the Hon. Diane

 Gujurati, U.S.D.J., of this Court to be held at the courthouse thereof, located at 225 Cadman

 Plaza East, Courtroom 4B South, Brooklyn, NY 11201-1804, on the                             day of

                                                                           ,   2023     at    ____

 o’clock in the                                                                noon of that day,

 or as soon thereafter as counsel can be heard, why an Order should not be issued:

        (a)       preliminarily enjoining Defendants and any persons or entities acting in concert

 with or on behalf of Defendants, from using in any manner whatsoever Superb Motor Inc.’s

 (“Superb”) trade secret and confidential and proprietary information (including, without

 limitation, Superb’s customized dealership management system (“DMS” setup, customer

 database, including the identity and contact information of Superb’s customers, or any other

 information regarding Superb’s customers, clients, transactions, financial information, pricing

 information, or other matters involving Superb);

        (b)       directing Defendants to return to Superb and Team Auto Sales LLC (“Team

 Auto”) all vehicles and dealer plates in Defendants’ possession or misappropriated by others in

 concert with Defendants;

        (c)       directing Defendants to return to Superb all originals and copies of documents,

 records, and information, whether in hard copy and/or computerized and/or other electronic

 media form, that contain Superb’s trade secrets and confidential and proprietary information

                                                 2
Case 2:23-cv-06188-JMW           Document 9       Filed 08/20/23       Page 3 of 6 PageID #: 143




 (including, without limitation, Superb’s customer database, including the identity and contact

 information of Superb’s customers, and for each customer of Superb, the services offered and

 payments received from Superb’s customers, and/or other matters involving Superb and which

 Defendants obtained or accessed, including without limitation information regarding Superb’s

 customers, clients, transactions, financial information, pricing information, or other sensitive

 information involving Superb);

       (d)     restraining and enjoining Defendants from, directly or indirectly, having any

contact with Superb’s current and/or former employees;

        (e)    directing Defendants to make all electronic accounts that are in their custody or

control and on which they stored information regarding Superb’s trade secrets and confidential or

proprietary information available and accessible to Superb (including providing relevant

passwords) to inspect to ensure Superb’s trade secrets and confidential and proprietary information

is secure and has not been improperly copied or distributed;

        (f)    preliminarily enjoining Defendants from continuing to serve Superb’s customers;

        (g)    preliminarily enjoining Defendants from contacting any of Superb’s customers;

        (h)    preliminarily enjoining Defendants from contacting any of Superb’s current or

former employees to solicit them to leave the employment of Superb;

        (i)    preliminarily enjoining Defendants from operating any automotive businesses, and

        (j)    restraining and enjoining Defendants from, directly or indirectly, further violations

of the Defendant Trade Secrets Act, including the use of confidential information or trade secrets

of Plaintiff, and unfairly competing with Plaintiff in any manner; and it is further




                                                 3
Case 2:23-cv-06188-JMW          Document 9       Filed 08/20/23      Page 4 of 6 PageID #: 144




       ORDERED, that pending the hearing and determination of this application, and further

order of this Court, Defendants and any persons/entities acting in concert with them, are hereby:

        (a)     preliminarily enjoined from using in any manner whatsoever Superb Motor Inc.’s

 (“Superb”) trade secret and confidential and proprietary information (including, without

 limitation, Superb’s customer database, including the identity and contact information of

 Superb’s customers, or any other information regarding Superb’s customers, clients,

 transactions, financial information, pricing information, or other matters involving Superb);

        (b)     directed to return to Superb and Team Auto all vehicles and dealer plates in

 Defendants’ possession or misappropriated by others in concert with Defendants;

        (c)     directed to return to Superb all originals and copies of documents, records, and

 information, whether in hard copy and/or computerized and/or other electronic media form, that

 contain Superb’s trade secrets and confidential and proprietary information (including, without

 limitation, Superb’s customer database, including the identity and contact information of

 Superb’s customers, and for each customer of Superb, the services offered and payments

 received from Superb’s customers, and/or other matters involving Superb and which Defendants

 obtained or accessed, including without limitation information regarding Superb’s customers,

 clients, transactions, financial information, pricing information,or other sensitive information

 involving Superb);

       (d)     restrained and enjoined from, directly or indirectly, having any contact with

Superb’s current and/or former employees;

        (e)    directed to make all electronic accounts that are in their custody or control and on

which they stored information regarding Superb’s trade secrets and confidential or proprietary

information available and accessible to Superb (including providing relevant passwords) to inspect


                                                4
Case 2:23-cv-06188-JMW            Document 9        Filed 08/20/23      Page 5 of 6 PageID #: 145




to ensure Superb’s trade secrets and confidential and proprietary information is secure and has not

been improperly copied or distributed;

         (f)    preliminarily enjoined from continuing to serve Superb’s customers;

         (g)    preliminarily enjoined from contacting any of Superb’s clients or customers and/or

individuals currently performing services for Superb;

         (h)    preliminarily enjoined from contacting any of Superb’s current or former employees

to solicit them to leave the employment of Superb;

         (i)    preliminarily enjoined from operating any businesses in the automotive industry,

and

         (j)    restraining and enjoined from, directly or indirectly, further violations of the

Defendant Trade Secrets Act, including the use of confidential information or trade secrets of

Superb, and unfairly competing with Plaintiffs in any manner; and it is further

        ORDERED that pending the hearing of this matter, Plaintiffs shall be permitted to

conduct discovery on an expedited basis, including obtaining documents from Defendants, and

taking depositions in aid of the requested injunctive relief, and it is further

        ORDERED that service by email and federal express of a copy of this Order, along with

the papers upon which it is based, shall be made upon Defendants via overnight delivery within

three (3) days of the date of this Order, and such service shall be deemed good and sufficient;

and it is further

        ORDERED that answering papers, if any, shall be served on Superb’s counsel, Emanuel

Kataev, Esq., Milman Labuda Law Group PLLC, 3000 Marcus Avenue, Suite 3W8, Lake

Success, NY 11042-1073, via electronic mail at emanuel@mllaborlaw.com on or before the

_____ day of _________________, 2023; and it is further


                                                   5
Case 2:23-cv-06188-JMW        Document 9     Filed 08/20/23   Page 6 of 6 PageID #: 146




         ORDERED that reply papers, if any, shall be electronically filed and served on

Defendants’ counsel on or before the _____ day of _________________, 2023.




Dated:                                     SO ORDERED:



                                                                             , U.S.D.J.




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